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 PROB 12C                                                                                Report Date: June 22, 2022
(6/16)

                                       United States District Court                          FILED IN THE
                                                                                         U.S. DISTRICT COURT
                                                                                   EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                     Jun 23, 2022
                                        Eastern District of Washington                  SEAN F. MCAVOY, CLERK



                    Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: George Thomas Lovell                      Case Number: 0980 2:20CR00049-TOR-1
 Address of Offender:                              Liberty Lake, Washington 99019
 Name of Sentencing Judicial Officer: The Honorable George P. Kazen, Senior U.S. District Judge
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: June 17, 2016
 Original Offense:           Conspiracy to transport undocumented aliens within the United States, 8 U.S.C. §
                             1324(a)(1)(A)(ii), (a)(1)(A)(v)(I), and (a)(1)(B)(I)
 Original Sentence:          Prison - 16 months;             Type of Supervision: Supervised Release
                             TSR - 36 months

 Revocation Sentence:        Prison - 35 days;
 (April 20, 2022)            TSR - 12 months
 Asst. U.S. Attorney:        Michael James Austen Ellis      Date Supervision Commenced: April 20, 2022
 Defense Attorney:           Kathryn Patricia Lucido         Date Supervision Expires: April 19, 2023


                                          PETITIONING THE COURT

To issue a summons.

On April 22, 2022, the conditions of supervised release were reviewed with Mr. Lovell. He signed his revocation
judgment for case number 2:20CR00049-TOR-1, acknowledging his understanding of his conditions of supervision.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

             1          Mandatory Condition #3: You must refrain from any unlawful use of a controlled
                        substance. The defendant shall submit to one drug test within 15 days of release from
                        imprisonment and at least two periodic drug tests thereafter, as determined by the court.

                        Supporting Evidence: It is alleged Mr. Lovell is in violation of his conditions of supervised
                        release by using methamphetamine on or around May 31, 2022.

                        On May 31, 2022, Mr. Lovell provided a random urinalysis test at Pioneer Human Services.
                        The urine sample was presumptive positive for methamphetamine. Mr. Lovell denied the use
                        of controlled substances. The urine sample was sent to the contract laboratory for further
                        testing and, on June 18, 2022, the lab confirmed a positive test for methamphetamine.
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          2           Mandatory Condition #3: You must refrain from any unlawful use of a controlled
                      substance. The defendant shall submit to one drug test within 15 days of release from
                      imprisonment and at least two periodic drug tests thereafter, as determined by the court.

                      Supporting Evidence: It is alleged Mr. Lovell is in violation of his conditions of supervised
                      release by using fentanyl on or around May 31, 2022.

                      On May 31, 2022, Mr. Lovell provided a random urinalysis test at Pioneer Human Services.
                      The urine sample was sent to the contract laboratory for further testing, to include fentanyl
                      testing. On June 11, 2022, the lab confirmed the test to be positive for fentanyl.
          3           Special Condition #1: You must abstain from the use of illegal controlled substances, and
                      must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                      no more than 6 tests per month, in order to confirm continued abstinence from these
                      substances.

                      Supporting Evidence: It is alleged Mr. Lovell is in violation of his conditions of supervised
                      release for providing a dilute urine sample on June 7 and 8, 2022.

                      On June 7 and 8, 2022, Mr. Lovell provided random urinalysis tests at Pioneer Human
                      Services. Both samples were sent to the contract laboratory for further testing and both
                      showed a diluted urine specimen.
          4           Special Condition #1: You must abstain from the use of illegal controlled substances, and
                      must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                      no more than 6 tests per month, in order to confirm continued abstinence from these
                      substances.

                      Supporting Evidence: It is alleged Mr. Lovell is in violation of his conditions of supervised
                      release for providing an invalid urine sample at Pioneer Human Services on June 13, 2022.

                      On June 13, 2022, Mr. Lovell provided a random urinalysis sample at Pioneer Human
                      Services. The urine sample was sent to the contract laboratory to test for alcohol. The sample
                      returned from the lab with a note stating, “specimen invalid, not consistent with normal
                      human urine.”

The U.S. Probation Office respectfully recommends the Court issue a summons requiring the offender to appear to
answer to the allegation(s) contained in this petition.

                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:      June 22, 2022
                                                                             s/Corey M. McCain
                                                                             Corey M. McCain
                                                                             U.S. Probation Officer
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